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UNlTED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE z r-.“;

 

 

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SMITH & NEPHEW, ]NC., )
Plaintit`fs, §
v. § Civil Action No. 02-2455-B
FEDERAL lNSURANCE CO., §
Defendant. §

 

ORDER MODlFYlNG RULE 16(b) SCHEDULING ORDER

 

On unopposed motion by plaintiff Srnith & Nephevv, Inc., presenting adequate
eause, the Amended Rule l6(b) Seheduling Order previously entered in this action on
November 23, 2004 (Doe, 57) is amended with respect to the following pre-trial stage
deadlines, as here stated:

Plaintiff`s and defendant’s expert disclosure (Rule 26): June 15, 2005

Expert depositions: July 15, 2005

Filing dispositive motions: July 15, 2005

All other provisions of said Seheduling Order remain unchanged

.D NIEL BREEN \
ED sTATEs DISTRICT JUDGE
wm ?‘, 1a nwf
DATE dF sIGNATURE

 

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Honorable J. Breen
US DISTRICT COURT

